           Case 8-18-73512-reg            Doc 21       Filed 07/19/18     Entered 07/19/18 14:09:33


UNITED STATES BANKRUPTCY COURT                                     Return Date: August 9, 2018
EASTERN DISTRICT OF NEW YORK                                       Time: 9:30 a.m.
--------------------------------------------------------X
In re:
                                                                   Chapter 13
                                                                   Case No.: 18-73512-736
VANESSA PUGH
aka Vanessa D. Pugh, aka Vanessa Pugh-Reefer


                           Debtor(s)                               NOTICE OF MOTION
--------------------------------------------------------X
SIRS / MADAMS

        PLEASE TAKE NOTICE, that MICHAEL J. MACCO, Chapter 13 Trustee of the above captioned
estate, will move before the Honorable Robert E. Grossman, United States Bankruptcy Judge on the 9th day
of AUGUST, 2018 at 9:30 a.m., at the United States Bankruptcy Court located at the Alfonse M. D’Amato
U.S. Courthouse, 290 Federal Plaza – Courtroom 860, Central Islip, New York 11722, for an Order pursuant
to 11 U.S.C. §§521 & 1307(c), dismissing this case by reason of the debtor(s)’ failure to provide and/or file
documents, and for such other and further relief as this Court deems just and proper.

              PLEASE TAKE FURTHER NOTICE, that answering papers, if any, shall be filed with the
Court and served upon the undersigned no later than three (3) days prior to the return date of this motion.

Dated: Islandia, New York                                   Yours, etc.
       July 19, 2018
                                                            MICHAEL J. MACCO
                                                            Chapter 13 Trustee
                                                            2950 Express Drive South, Suite 109
                                                            Islandia, New York 11749
                                                            (631) 549-7900

To:     Office of the United States Trustee
        VANESSA PUGH, Debtor(s)
        RONALD D. WEISS, ESQ. Attorney for Debtor(s)
        All Interested Parties and Creditors
             Case 8-18-73512-reg          Doc 21       Filed 07/19/18   Entered 07/19/18 14:09:33



UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------X          tmm1634
In re:
                                                                   Chapter 13
                                                                   Case No.: 18-73512-736
VANESSA PUGH
aka Vanessa D. Pugh, aka Vanessa Pugh-Reefer

                           Debtor(s)                      APPLICATION
--------------------------------------------------------X
TO THE HONORABLE ROBERT E. GROSSMAN, UNITED STATES BANKRUPTCY JUDGE:

                MICHAEL J. MACCO, Chapter 13 Trustee in the above captioned estate, respectfully
represents as follows:

          1. The debtor(s) filed a petition under the provisions of 11 U.S.C. Chapter 13 on
May 23, 2018, and thereafter MICHAEL J. MACCO was duly appointed and has qualified as Trustee.

           2. As of the date of this motion, the debtor(s) has failed to provide the Trustee with
an Amended Chapter 13 Plan; proof post-petition mortgage (including second mortgage) and car (if not
surrendered) payments have been made; June Target Statement; and a Withdrawal from Objection to
Confirmation.

              3. This is a material default and is prejudicial to the rights of the creditors of the
debtor(s).

            WHEREFORE, the Trustee requests an Order pursuant to the provisions of 11 U.S.C.
§§521 & 1307(c), dismissing this case, and for such other and further relief as this Court deems just and
proper.

Dated: Islandia, New York
       July 19, 2018
                                                            Michael J. Macco
                                                            Michael J. Macco, Chapter 13 Trustee
                                                            2950 Express Drive, Suite 109
                                                            Islandia, NY 11749
                                                            (631) 549-7900
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STATE OF NEW YORK                      )
COUNTY OF SUFFOLK                      )    ss.:

                STEPHANIE TURNER, being duly sworn, deposes and says: deponent is not a party to this
action, is over 18 years of age, and resides in Suffolk County, New York.

                    On July 19, 2018 deponent served the within:

                                       NOTICE OF MOTION AND APPLICATION

upon the following parties, at the addresses designated by said parties for that purpose, by depositing a true
copy of same, enclosed in a post-paid, properly addressed wrapper in an official depository under the
exclusive care and custody of the United States Postal Service within the State of New York:

Vanessa Pugh
55 Tell Avenue
Deer Park, NY 11729
Debtor(s)

Wells Fargo Bank, N.A.
c/o Woods, Oviatt, Gilman LLP
700 Crossroads Building, Two State Street
Rochester, NY 14614

U.S. Bank National Association
c/o Aldridge Pite, LLP
4375 Jutland Drive, Suite 200
P.O. Box 17933
San Diego, CA 92177-0933

and upon the following parties, by the e-mail address designated by said parties for that purpose;

Office of the United States Trustee
Alfonse M. D’Amato U.S. Courthouse
USTPRegion02.LI.ECF@usdoj.gov

Ronald D. Weiss, Esq.
weiss@ny-bankruptcy.com
Attorney for Debtor(s)


                                                        /s/Stephanie Turner _
                                                        STEPHANIE TURNER
Sworn to before me this
19th day of JULY, 2018

/s/ Janine M. Zarrilli
NOTARY PUBLIC
Janine M. Zarrilli
Notary Public, State of New York
No. 01ZA5084708
Qualified in Nassau County
Commission Expires September 8, 2021
